Case 18-31230 Doci1 Filed 07/27/18 Entered 07/27/18 11:17:55 Page 1of 10

PURE Cel B Se) Peretti Nets

United States Bankruptcy Court for the:

District of

Case number (if known): Chapter you are filing under:
chapter? M8 UL 27 AH 03
Chapter 11

QC) Chapter 12
LeoO Check if this is an
@ Chapter 13 ‘ ANAROPTOg ?
3%

rH

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 12117

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Ea identify Yourself

1. Your full name

Write the name that is on your h 4
government-issued picture a y Are.

About Debtor 1: oe About Debtor 2 (Spouse Only in a Joint Case): :

identification (for example, rate ame First name
your driver’s license or
passport). Gey name $ Middle name
Bring your picture vit vit
identification to your meeting = name Last name
with the trustee.
“s Suffix (Sr., Jr, IE WD a Lo Suffix (Sr., Jr, 1, UID
- Se
- 2 os ts te
2. All other names you
have used in the last 8 First name “> Firstname
years
Include your married or Middle name Middle name
maiden names.
Last name e Last name
First name First name
Middle name <a: Middle name
Last name Last name

3. Only the last 4 digits of OX = XX = Us g 4 XXX XX =

your Social Security
number or federal OR OR
Individual Taxpayer
Identification number
(ITIN)

9xx - xx - 9xx - x -

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1
Case 18-31230 Doci1_ Filed 07/27/18

Debtor 1

Artis L. Gna

First Name Middie Name

Last Name

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Case number (if known)

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4. Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

EIN

About Debtor 1:°

LI} | have not used any business names or EINs.

About Debtor 2 (Spouse Only in a Joint Case):

LJ [ have not used any business names or EINs.

Business name

Business name

Business name

EIN

EN

- Business name

EIN

5. Where you live

165

lf Debtor 2 lives at a different address:

Number Strest

Number Street

City State ZIP Code

. If your mailing address is different from the one

above, fill it in here. Note that the court will send
any notices to you at this mailing address.

County

If Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

Number Street Number Street

P.O. Box P.O. Box

City State ZIP Code City State ZIP Code
6. Why you are choosing Check one: Check one:

this district to file for
bankruptcy

Over the last 180 days before filing this petition,
have lived in this district longer than in any
other district.

(C} | have another reason. Explain.
(See 28 U.S.C. § 1408.)

C2 Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

LJ | have another reason. Explain.
(See 28 U.S.C. § 1408.)

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 2

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Debtor 1 Mar ce L_, Sm

Case number (if known)

First Name e Middle Name Last Name

eo Tell the Court About Your Bankruptcy Case

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
Bankruptcy Code you for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
are choosing to file
under CL} Chapter 7

(J Chapter 11
C) Chapter 12

Px Chapter 13

3. How you will pay the fee ©) I will pay the entire fee when I file my petition. Please check with the clerk's office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

CJ I need to pay the fee in installments. If you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in installments (Official Form 103A).

C1 | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

9. Have you filed for Ax No
bankruptcy within the
last 8 years? C) Yes. District When nT DOTVW Case number
District When Case number
MM/ DD/YYYY
District When Case number
MM / DD/YYYY
10. Are any bankruptcy Ado
cases pending or being
filed by a spouse who is C] Yes. Debtor Relationship to you
not filing this case with District . When Case number, if known
you, or by a business MM/DD /YYYY
partner, or by an
affiliate?
Debior Relationship to you
District When Case number, if known,
MM /DD/YYYY
11. Do you rent your Dido. Go to line 12.
residence? Q) Yes. Has your landiord obtained an eviction judgment against you?

C} No. Go to line 12.
2) Yes. Fill out nitial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 3
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if PO -
er Maree & math ue unter ten

First Name Middle Name Last Name

ee Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor Maro. Go to Part 4.
of any full- or part-time
business? CJ Yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as

a corporation, partnership, or
LLC. Number Street

Name of business, if any

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

City State ZIP Code

Check the appropriate box to describe your business:

QC) Health Care Business (as defined in 14 U.S.C. § 101(27A))
C} Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
C3 Stockbroker (as defined in 11 U.S.C. § 101(53A))

C) Commodity Broker (as defined in 11 U.S.C. § 101(6))

CL) None of the above

43. Are you filing under If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines. \f you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
are you a small business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

debtor?

oe Aaifo. | am not filing under Chapter 11.
For a definition of smalf ‘

business debtor, see CY No. | am filing under Chapter 11, but | am NOT a small business debtor according to the definition in
11 U.S.C. § 101(51D). the Bankruptcy Code.

Ci Yes. | am filing under Chapter 11 and | am a small business debtor according to the definition in the
Bankruptcy Code.

ee Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own orhave any Bano
property that poses oris —

alleged to pose a threat CL] Yes. What is the hazard?
of imminent and
identifiable hazard to

public health or safety?
Or do you own any

property that needs if immediate attention is needed, why is it needed?

immediate attention?
For example, do you own

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Where is the property?

Number Street

City State ZIP Code

Official Form 104 Voluntary Petition for Individuals Filing for Bankruptcy page 4
Debtor 1

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Cf fon C. Gu

First Name Middié Name Last Name

Ea Explain Your Efforts to Receive a Briefing About Credit Counseling

Case number (if known)

Page 5 of 10

15. Tell the court whether About Debtor 1:

you have received a
briefing about credit
counseling.

You must check one:

C) I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

jreceived a briefing from an approved credit
‘counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities

. Chi certify that | asked for credit counseling
again.

services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made fo obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankrupicy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

C) 1am not required to receive a briefing about
credit counseling because of:

O) incapacity. | have a mental illness or a mental -
deficiency that makes me
incapable of realizing or making
rational decisions about finances.
C) Disability. | My physical disability causes me

to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

L) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a

motion for waiver of credit counseling with the court. _

_ About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

- CU received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

C) | received a briefing from an approved credit
counseling agency within the 180 days before I
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

: Ohi certify that | asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the paymeni plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

S C] i am not required to receive a briefing about

credit counseling because of:

L] incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

C) Disability. My physical disability causes me

to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

U) Active duty. | am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

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Voluntary Petition for Individuals Filing for Bankruptcy

page 5

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Debtor 1

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L Smt

Case number (if known)

First Nafne

‘Wiiddie Name

Last Name

ao Answer These Questions for Reporting Purposes

16. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “Incurred by an individual primarily for a personal, family, or household purpose.”

L) No. Go to line 16b.
Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

LY No. Go to line 16c.
Q Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debits or business debts.

17. Are you filing under
Chapter 7?

any exempt property is

ATRo. | am not filing under Chapter 7. Go to line 18.

Do you estimate that after L] Yes. iam filing under Chapter 7. Do you estimate that after any exempt property is excluded and

administrative expenses are paid that funds will be available to distribute to unsecured creditors?

estimate your assets to
be worth?

excluded and QO) No
administrative expenses
are paid that funds will be O Yes
available for distribution
to unsecured creditors?
18. How many creditors do Ae 1-49 CL) 4,000-5,000 C) 25,001-50,c00
you estimate that you CJ 50-99 CY 5,001-10,000 CJ 50,001-100,000
owe? U) 100-199 CJ 10,001-25,000 L) More than 100,000
CI 200-999
19. How much do you CJ $0-$50,000 CL) $1,000,001-$10 million CL) $500,000,001-$1 billion

C) $1,000,000,001-$10 billion
LI $10,000,000,001-$50 billion
(J More than $50 billion

UO $10,000,001-$50 million
LI $50,000,001-$100 million
CJ $100,000,001-$500 million

CJ $50,001-$100,000
AA $100,001-$500,000
LY $500,001-$1 million

20. How much do you
estimate your liabilities

LJ $500,000,001-$1 billion
C) $1,000,000,001-$10 billion

CI $4,000,001-$10 million
LI $10,000,001-$50 million

U $0-$50,000
L) $50,001-$100,000

to be? AB 00.001-$500,000 C) $50,000,001-$100 million CL) $10,000,000,001-$50 billion
$500,001-$1 million CJ $100,000,001-$500 million C] More than $50 billion
Sign Below
| have examined this petition, and | declare under penalty of perjury that the information provided is true and
For you correct.

if | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed
under Chapter 7.

if no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

" Signature of Debtor 1.

conan n 0/00 BOY

7*op /¥YYY

x

Signature of Debtor 2

Executed on

MM / DD /YYYY

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 6

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Debtor 4 i Ci & CAE U ¢ Cae Tha Case number (if known)
« First Name “Middie Name Last Name °
F tt if 1, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility
or your a be. IFYOU are tg proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no
if you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page. x
Date

Signature of Attorney for Debtor MM /{ DD /YYYY

Printed name

Firm name

Number Street

City State ZIP Code

Contact phone Email address

Bar number State

Official Form 104 Voluntary Petition for Individuals Filing for Bankruptcy page 7
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larcigl. Sy

Debtor 1 i Case number (if known),

First Name Middle Name Last Name
For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an should understand that many people find it extremely difficult to represent
attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.

If you are represented by
an attorney, you do not To be successful, you must correctly file and handle your bankruptcy case. The rules are very

need to file this page. technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankrupicy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the locai rules of the court in which your case is filed. You must aiso
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

CJ No

oudqes
Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

C} No
wnlnkYes
Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
AL Foo
LI Yes. Name of Person, .
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handle the case.

Signature of Debtor 2

Date
MM/ DD /YYYY

Contact phone ¢ Contact phone
Cell phone Cell phone
Email address Email address

Official Form 104 Voluntary Petition for Individuals Filing for Bankruptcy page 8

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CLqosS.

Sey

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SHORT CALENDAR LIST STATE OF CONNECTICUT
CLAIM/RECLAIM , SUPERIOR COURT

JD-CL-6 Rev. 6-12 www.jud.ct.gov
Pr. Bk. Secs. 11-13, 11-16, 11-18, 17-31, 25A-13

instructions
Do not file with original motion. Use only for reclaiming motions or
for motions that must be claimed by rule (Connecticut Practice Book Retum date
section 17-31). Aug-09-2016

Docket number

NNH-CV-XX-XXXXXXX-S

Name of case (Full name of Plaintiff v. Full name of Defendant)

DEUTSCHE BANK NATIONAL TRUST COMPANY, AS TRUSTEE F v. SMITH, MARCIA Et Al

Judicial Housing Geographical Address of Court (Number, street, town and zip code}
pistrict LI session No or 235 CHURCH STREET NEW HAVEN, CT 06510

The: Plaintiff © [[] Defendant [_] Support Enforcement Officer
[ | Other (Specify)

is claiming or reclaiming the following motion(s) for the SHORT CALENDAR LIST:

Date of Number of Motion + .
Motion (if known) Title of Motion
JUN 13 2018 125.00 MOT STRICT FORECLOSURE
Certification

| certify that a copy of this document was mailed or delivered electronically or non-electronically on (date) _ Jul-13-2018 __ to all attorneys
and self-represented parties of record and that written consent for electronic delivery was received from all attorneys and self-represented
parties receiving electronic delivery.

Name and address of each party and attorney that copy was mailed or delivered to* ' For Court Use Only

MARCIA SMITH (Self Represented) - 155 GOODRICH STREET HAMDEN, CT 06517

Signed (Signature of filer) Print or type name of person signing Date signed

> 420146 JO-ANN THERESA LAMBERT Jul-13-2018
Mailing address (Number, street, town, state and zip code) Telephone number
60 LONG RIDGE ROAD SUITE 404 STAMFORD, CT 06905 9142195787

“if necessary, attach additional sheet or sheets with name and address which the copy was mailed or delivered to.

Superior Court (Other than Family Support Magistrate Matters) [| Assigned for Trial [| Family Support Magistrate Matters

